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                                                                          February 5, 2025

     Hon. Andrew L. Carter
     United States District Court
     Southern District of New York
     40 Foley Square, Room 435
     New York, NY 10007

     VIA CM/ECF AND EMAIL (PER INDIVIDUAL RULE 1.A)

               Re:    SVOTHI, Inc. v. Dark Alley Media LLC et ano., 25 CV 0333 (ALC)

     Your Honor:

     I am counsel to the Plaintiff. I write pursuant to Rules 1.A and 2.A of the Court’s
     Individual Practices to respond to Defendants’ January 31, 2025 letter motion for a
     conference. (ECF Doc. 17 (the “Letter,” cited as“Ltr.”).)

     Plaintiff would oppose Defendants’ proposed motion to stay the case on at least three
     grounds. First, the Letter announces Defendants’ intent to not to stay the case, but
     instead to proceed with it, including by joining new parties and engaging in motion
     practice. (Id. at 1, 4.) Second, Defendants admit that SVOTHI is not party to any
     arbitration agreement, and their Letter cites no authority for a stay pending separate
     arbitration against a non-party. And third, by making public claims against VideoApp
     in this litigation — and in another separate litigation filed in New York Supreme
     Court1 on the same day as the Letter — Defendants have waived any rights they might
     once have had to private arbitration.

     No conference is required on Defendants’ proposal to “implead and join third parties,”
     (id. at 1), since Defendants do not require leave, (Fed. R. Civ. P. 14(a)).

               1.     Background

                      A.      SVOTHI’s Claims

     This is a trademark infringement case. Plaintiff SVOTHI operates adult websites and
     technology channels under the common-law marks RFC, RFC.com, and a related
     graphical mark depicted in the Complaint. (Compl. (ECF Doc. 7) ¶ 1.) Defendant
     Dark Alley and its principal, Defendant Mr. Felt, admit they use the exact same marks
     to offer the exact same services. (See Am. Ans. (ECF Doc. 19) at 3 ¶ 4.)

     Plaintiff contends that Defendants are therefore liable for, inter alia, trademark
     infringement under the Lanham Act. (15 U.S.C. § 1125(a).) By using identical marks
     to offer identical services to identical consumers, Defendants are engaging in conduct
     “likely to cause confusion[] or … mistake … as to the affiliation, connection, or
     association of [Defendants] with [Plaintiff], or as to the origin, sponsorship, or

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         A copy of Defendants’ state court complaint is annexed as Exhibit A.


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     approval of [Defendants’] services, or commercial activities by [Plaintiff].” Id. And as
     Defendant Dark Alley’s principal and the “moving, active, conscious force behind the
     defendant [LLC’s] infringement,” Defendant Mr. Felt has personal liability. E.g., Kate
     Spade LLC v. Vinci Brands, No. 23-cv-5409, 2024 U.S. Dist. LEXIS 185539, at *13-14,
     2024 WL 4449666 (S.D.N.Y. Oct. 9, 2024).

                     B.      Defendants’ Counterclaims

     Defendants’ Letter mounts a blunderbuss attack on Plaintiff’s claims. The Letter lays
     out various allegations of “fraud,” “deception,” and “misappropriation” against
     VideoApp — a non-party — related to a Joint Venture Agreement between Defendant
     Dark Alley and VideoApp. (Ltr. at 2, 3.) The Letter claims that Plaintiff SVOTHI is
     “close[ly] interrelate[ed]” with non-party VideoApp because, among other things,
     both entities are represented by the same law firm. (Ltr. at 2.)

     Ignoring the distinctions between alter ego liability and veil piercing, and with no
     mention of the pleading standards that apply to both, the Letter suggests that SVOTHI
     and VideoApp have engaged in “fraud” that “support[s] piercing the corporate veils of
     [SVOTHI] and [VideoApp] since they are as one.” (Ltr. at 3; cf. Fed. R. Civ. P. 9(b);
     DirecTV Latin Am., LLC v. Park 610, LLC, 691 F.Supp.2d 405, 432 (S.D.N.Y. 2010)
     (heightened pleading standard under Rule 9(b) applies to elements of alter ego and
     veil-piercing claims).) In sum, the Letter appears to contend that the Defendants’
     admitted use of the RFC Marks is not wrongful because the Defendants’ conduct was
     authorized under a Joint Venture Agreement between Defendant Dark Alley and non-
     party VideoApp.

     On the back of those theories, Defendants filed an Answer with fifteen purported
     Counterclaims against SVOTHI. (Am. Ans (ECF Doc. 19).) All of the Counterclaims
     are in reality directed at VideoApp. (See id. at 33 ¶ 6 (“VideoApp[] breach[ed] … the
     joint venture agreement”); id. at 40 ¶ 37 (“VideoApp … knowingly made false
     representations … .”).) Defendants confusingly contend that SVOTHI breached the
     Joint Venture Agreement between Dark Alley and VideoApp, (id. at 39 ¶¶ 31-33), and
     seek to enforce the Joint Venture Agreement against SVOTHI, (see id. at 45 ¶ 66), even
     as they admit that SVOTHI “was not a party to the Agreement,” (id. at 27 ¶ 17).

             2.      Defendants’ proposed motion to stay

     The Letter seeks a conference on Defendants’ “anticipated motion … to … stay this
     matter pending arbitration” between Defendant Dark Alley and non-party VideoApp.
     (Ltr. at 1.) Invoking an arbitration clause in the agreement between Dark Alley and
     non-party VideoApp, and contending that all disputes between Dark Alley and
     VideoApp are subject to arbitration, the Letter asserts that there is a “need to stay these
     proceedings pending the resolution of the arbitration … .” (Ltr. at 4.)

     Plaintiff would oppose the motion.

     First, the Defendants do not actually seem to want to stay the case. They announce in
     the Letter that they plan to implead non-parties VideoApp and its principal Mr.
     Todaro, (Ltr. at 1); they also plan to move for injunctive relief, (id. at 4). Earlier this



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     afternoon, Defendants’ counsel requested SVOTHI’s consent to a proposed order to
     show cause seeking emergency injunctive relief. None of that conduct is consistent
     with a stay, and it would be unusual and prejudicial to stay the case as to a plaintiff
     while allowing the defendants to seek all the relief they desire.

     Second, Plaintiff SVOTHI is not a party to any arbitration agreement and is not a party
     to the claims Defendants seek to arbitrate against VideoApp. The Defendants admit
     that SVOTHI is not bound by any arbitration clause. (Am. Ans. (ECF Doc. 19) at 27
     ¶ 17 (“Plaintiff was not a party to the Agreement … .”).) The Letter cites no authority
     for the suggestion that SVOTHI’s separate claims cannot proceed in parallel. (The
     Letter cites no authority at all.)

     Third, and even if there were grounds or authority for a stay, the Defendants waived
     any right they might have had to arbitrate. The same day they filed their Letter,
     Defendants sued VideoApp, its principal Mr. Todaro, and his (unnamed) “long-term
     [domestic] partner” in a deliberately scandalous complaint filed in New York Supreme
     Court. (Ex. A.) The state court complaint alleges various wrongs arising from the Dark
     Alley-VideoApp joint venture. (Id. ¶¶ 19, 20, 21, 29.)2 By commencing an action in
     court against VideoApp relating to the Joint Venture Agreement, Dark Alley waived
     any contractual rights it might once have had to confidential arbitration. Sherrill v.
     Grayco Builders, Inc., 64 N.Y.2d 261, 272 (1985) (parties “electing the benefits of
     arbitration … cannot also draw on the judicial process for a particular advantage”);
     Volpe v. Interpublic Group of Cos., Inc., 118 A.D.3d 482, 483 (1st Dep’t 2014) (“plaintiff’s
     commencement of [an] action … constitutes a waiver of … arbitration”).

             3.      Defendants’ proposed motion to implead third-parties

     Defendants also seek a conference to discuss their “anticipated motion … to implead
     and join third parties.” (Ltr. at 1.) Under Rule 14(a), a third-party plaintiff need only
     “obtain the [C]ourt’s leave if it files the third-party complaint more than 14 days after
     serving its original answer.” Fed. R. Civ. P. 14(a)(1). Defendants are still within the
     14-day window, so no leave is required. Neither is a conference.

             4.      Conclusion

     For the reasons stated, Plaintiffs respectfully submit that no conference is required on
     any of Plaintiff’s proposed motions. We thank the Court for its attention to this
     matter.


     2
      Defendant Mr. Felt has been narrating Dark Alley’s legal maneuvers in real-time to
     his hundreds of thousands of social media followers. On February 2, 2025, he touted
     on Twitter (@owenhawkxxx) that Dark Alley now “h[as] a federal case, a state case,
     and an arbitration case all open at the same time.” Last night, on the same account,
     he told fans he “spoke with a reporter … and expect[s] a story on the disputes … to be
     published soon.” Indeed one has been. J. Rohrlich, Porn star says his career was destroyed
     by false claims he nearly killed a dog with meth, INDEPENDENT (Feb. 5, 2025). Staying this
     case would be inappropriate for the additional reason that, having elected to litigate on
     the public dockets and in the press, the Defendants cannot muzzle their adversaries
     with arbitration secrecy.


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     Respectfully submitted,


     Wesley M. Mullen

     cc:    ALCarterNYSDChambers@nysd.uscourts.gov (per Rule 1.A)
            All counsel of record




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